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16

17                              UNITED STATES DISTRICT COURT

18                      FOR THE NORTHERN DISTRICT OF CALIFORNIA

19                                     OAKLAND DIVISION
20
      WHATSAPP LLC, and                 )
21    META PLATFORMS INC.,              )          Case No. 4:19-cv-07123-PJH
                                        )
22                    Plaintiffs,       )          DECLARATION OF GINA CORA IN
                                        )          SUPPORT OF PLAINTIFFS’
23           v.                         )          OPPOSITION TO DEFENDANTS’
                                        )          MOTION TO SUBSTITUTE EXPERT
24
      NSO GROUP TECHNOLOGIES LIMITED )
                                                   Ctrm: 3
25    and Q CYBER TECHNOLOGIES LIMITED, )
                                                   Judge: Hon. Phyllis J. Hamilton
                                        )
26                    Defendants.       )          Action Filed: October 29, 2019
                                        )
27                                      )
28                                      )
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 1           I, Gina Cora, declare as follows:

 2           1.      I am a counsel at the law firm of Davis Polk & Wardwell LLP and admitted pro

 3   hac vice to practice before this Court. I am counsel for Plaintiffs WhatsApp LLC and Meta Plat-

 4   forms, Inc. in the above-captioned action. I have personal knowledge of the facts set forth below

 5   and, if called as a witness in a court of law, could and would testify competently thereto.

 6           2.      I submit this Declaration in support of Plaintiffs’ Opposition to the Motion of De-

 7   fendants NSO Group Technologies Ltd. and Q Cyber Technologies Ltd. (collectively, “NSO”) to

 8   Substitute Expert, filed concurrently herewith.

 9           3.      In the afternoon of Wednesday, November 27, 2024 (the day before Thanksgiving),

10   NSO’s counsel first informed Plaintiffs’ counsel of Mr. Town’s withdrawal as an expert. See Dkt.

11   No. 480-4.

12           4.      On Monday, December 2, 2024, Plaintiffs’ counsel sent an email to NSO’s counsel

13   asking for more information regarding Mr. Town’s withdrawal as an expert, including “when De-

14   fendants first had notice that Mr. Town would be withdrawing from this matter.” The next day,

15   NSO’s counsel informed Plaintiffs’ counsel of his understanding that NSO’s counsel had “learned

16   from Jay Town that he would need to withdraw from this matter after election day” and stated that

17   “[i]f you need more specifics as to the precise date, please explain why.” On December 4, 2024,

18` Plaintiffs’ counsel explained that the “[t]imeliness of NSO’s notification to us is relevant to the

19   prejudice we’ve incurred.”

20           5.      On December 5, 2024, Plaintiffs held a meet and confer with NSO’s counsel to

21   discuss NSO’s intended motion to substitute, as well as other issues.

22           6.      On December 6, 2024, Plaintiffs’ counsel informed NSO’s counsel that Plaintiffs

23   would oppose NSO’s anticipated motion to substitute. See Dkt. No. 480-5.

24           7.      Five days later, on December 11, 2024, NSO filed its Motion to Substitute Expert,

25   Dkt. No. 480. In that motion, NSO’s counsel provided that they expected the Rule 26 disclosure

26   of Defendants’ substitute expert Mr. Minkler would be served on Plaintiffs by December 13, 2024.

27   Dkt. No. 480 at 2.

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                                                         1
     DECL. OF G. CORA IN SUPP. OF PLS.’ OPP. TO DEFS.’ MOT. TO SUBSTITUTE EXPERT
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1             8.      On December 18, 2024, NSO served Mr. Minkler’s Rule 26 disclosure on Plain-

2     tiffs’ counsel. A true and correct copy of Mr. Minkler’s Rule 26 disclosure is attached hereto as

3     Exhibit A.

4             9.      On December 20, 2024, the Court granted Plaintiffs’ motion for partial summary

5     judgment, finding NSO liable on Plaintiffs’ claims. See Dkt. No. 494. The Court “directed [the

6     parties] to meet and confer to determine if any expert-related motions are mooted by this order,

7     and to notify the court by January 17, 2025 which, if any, expert-related motions need to be re-

8     solved by the court prior to the trial on damages.” Id. at 16.

9             10.     On December 22, 2024, Plaintiffs’ counsel asked NSO’s counsel to confirm that

10    NSO was not proceeding with the motion to substitute given the Court’s December 20, 2024 order.

11    Plaintiffs’ counsel also wrote that “[w]e believe that, per the Court’s order, the parties’ need to

12    meet and confer regarding the scope of damages trial before we should burden the Court with any

13    further briefing on expert-discovery issues.”

14            11.     NSO’s counsel responded with its position that “Mr. Minkler’s testimony will be

15    relevant to the remedies being sought by Plaintiffs” and that “we need proceed with [the motion]

16    on the timeframes set forth under the current case schedule.” Plaintiffs thus filed this opposition.

17            I declare under the penalty of perjury that the foregoing is true and correct.

18`           Executed on the 23rd day of December, 2024 at New York, New York.

19                                                  By:

20                                                        /s/ Gina Cora
                                                          Gina Cora
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      DECL. OF G. CORA IN SUPP. OF PLS.’ OPP. TO DEFS.’ MOT. TO SUBSTITUTE EXPERT
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